                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


GLENN DAVIS,

                       Petitioner,

               v.                                           Case No. 08-C-212

ANA BOATWRIGHT,

                       Respondent.


                                            ORDER


       Petitioner Glenn Davis filed a brief in support of his habeas corpus action on November 2,

2020. Dkt. No. 7. Davis’ petition for a writ of habeas corpus challenging his 1997 conviction for

sexual assault of a child was denied and dismissed by this court as untimely on May 2, 2008. Dkt.

No. 5. Davis did not appeal the dismissal. Rule 60(c) of the Federal Rules of Civil Procedure

requires any motions for relief based on new information or misconduct by an opposing party to

be made no more than one year after the entry of judgment. A brief filed 12 years after entry of

judgment clearly violates that requirement. This case is closed, and pursuant to Rule 60 the court

will take no further action on this case.

       SO ORDERED at Green Bay, Wisconsin this 6th day of November, 2020.

                                                    s/ William C. Griesbach
                                                    William C. Griesbach
                                                    United States District Judge




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